      Case 2:17-cv-00608-CW Document 15 Filed 12/18/17 PageID.45 Page 1 of 2




THE ORD FIRM, P.C.
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                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                       Case No.: 2:17-cv-00608-CW-EJF

                  Plaintiff,
 v.                                                   NOTICE OF SETTLEMENT

 Harman Management Corporation,
                                                      Assigned to Judge Clark Waddoups
                  Defendant.                          Referred to Magistrate Judge Evelyn J. Furse


         PLEASE TAKE NOTICE that, Plaintiff, Trevor Kelley, and Defendant, Harman

Management Corporation, (collectively, the “Parties”), hereby give notice that the Parties have

resolved and agreed to settle this Action. As a result, the Parties anticipate filing dismissal papers

within the next forty-five (45) days.

         In conformance with DUCiv.R 41-1, the Parties respectfully request the Court stay all

deadlines and other matters in this Action so the Parties can finalize settlement documents.

         RESPECTFULLY SUBMITTED on this 18th day of December 2017.

                                                               /s/ James K. Ord, III
                                                               JAMES K. ORD, III
                                                               The Ord Firm, P.C.
                                                               PO Box 16266
                                                               Salt Lake City, UT 84116
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                                                  1
    Case 2:17-cv-00608-CW Document 15 Filed 12/18/17 PageID.46 Page 2 of 2




                                            CERTIFICATE OF SERVICE
       I hereby certify that on this 18th day of December 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record:


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Attorney for Defendant


/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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